                                                                       Case 2:12-cr-00351-JLR Document 76 Filed 01/12/21 Page 1 of 7
    AO245D                               (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                         Sheet 1
    Stanley Brandon Lee Revocation JNC
    AO245D                               Judgment in a Criminal Case                             For Revocatio ns




                                                                                 UNITED STATES DISTRICT COURT
                                                                                              Western District of Washington
                                         UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                                                    v.                                                              (For Revocation of Probation or Supervised Release)

                                                                       Brandon Lee Stanley                          Case Number:              2:12CR00351-JLR-001
                                                                                                                    USM Number:               42657-086
                                                                                                                    Jesse Cantor
                                                                                                                    Defendant’s Attorney
    THE DEFENDANT:
      6admitted guilt to violation(s)                                                 1-3                                        of the petitions dated 06/22/2020.
                             was found in violation(s)                                                                     after denial of guilt.

    The defendant is adjudicated guilty of these offenses:

    Violation Number                                                              Nature of Violation                                                                 Violation Ended
    1.                                                                            Consuming methamphetamine                                                           06/01/2020
    2.                                                                            Failing to participate in a residential reentry program                             06/08/2020
    3.                                                                            Failing to report a change of address                                               10/28/2020




    The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
                             The defendant has not violated condition(s)                                                                     and is discharged as to such violation(s).
    It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
    restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.
                                                                                                                    /s/ Stephen Hobbs
                                                                                                                    Stephen Hobbs, Assistant United States Attorney

                                                                                                                    January 12, 2021
                                                                                                                    Date of Imposition of Judgment

                                                                                                                     A
                                                                                                                    Signature of Judge
                                                                                                                    James L. Robart, United States District Judge
                                                                                                                    Name and Title of Judge
                                                                                                                    January 12, 2021
    Sheet 1
                                                                                                                    Date




.
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AO245D                             (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                   Sheet 2 — Imprisonment
                                                                                                                                 Judgment — Page 2 of 7
DEFENDANT:                                       Brandon Lee Stanley
CASE NUMBER:                                     2:12CR00351-JLR-001

Sheet 2 — I mprison ment
                                                                                   IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
Time served. The defendant is to remain in custody until arrangements can be made by the United States
Probation Officer for direct placement into an inpatient treatment facility. Custody shall not exceed 14 days
beyond the date of the judgment unless extended by the Court.


                        The court makes the following recommendations to the Bureau of Prisons:



                        The defendant is remanded to the custody of the United States Marshal.
                        The defendant shall surrender to the United States Marshal for this district:
                             at                                 a.m.           p.m.     on                                          .
                             as notified by the United States Marshal.
                        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                             before 2 p.m. on                                                     .
                             as notified by the United States Marshal.
                             as notified by the Probation or Pretrial Services Office.

                                                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on                                                                                 to
at                                                                   , with a certified copy of this judgment.



                                                                                                               UNITED STATES MARSHAL

                                                                                              By
                                                                                                            DEPUTY UNITED STATES MARSHAL
                                      Case 2:12-cr-00351-JLR Document 76 Filed 01/12/21 Page 3 of 7
AO245D                         (Rev. 09/19) Judgment in a Criminal Case For Revocations
                               Sheet 3 — Supervised Release
                                                                                                            Judgment — Page 3 of 7
DEFENDANT:                                   Brandon Lee Stanley
CASE NUMBER:                                 2:12CR00351-JLR-001

Sheet 3 — Supervised Release
                                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
30 months

                                                                     MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
    of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
              future substance abuse. (check if applicable)
4.       You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
         of restitution. (check if applicable)
5. 6 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C.
         § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in which you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached pages.
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 AO245D                                 (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                        Sheet 3A — Supervised Release
                                                                                                                                            Judgment — Page 4 of 7
 DEFENDANT:                                           Brandon Lee Stanley
 CASE NUMBER:                                         2:12CR00351-JLR-001
                                                                STANDARD CONDITIONS OF SUPERVISION
 Sheet 3A — Supervised Release




 As part of your supervised release, you must comply with the following standard conditions of supervision. These
 conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
 the minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements
 in your conduct and condition.
 1.                              You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
                                 of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
                                 within a different time frame.
 2.                              After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
                                 how and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.                              You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
                                 permission from the court or the probation officer.
 4.                              You must answer truthfully the questions asked by your probation officer.
 5.                              You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
                                 living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
                                 change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
                                 the probation officer within 72 hours of becoming aware of a change or expected change.
 6.                              You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
                                 probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.                              You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
                                 excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
                                 the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
                                 (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
                                 change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances,
                                 you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
 8.                              You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
                                 has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
                                 the permission of the probation officer.
 9.                              If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.                              You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
                                 anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person
                                 such as nunchakus or tasers).
11.                              You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
                                 informant without first getting the permission of the court.
12.                              If the probation officer determines that you pose a risk to another person (including an organization), the probation
                                 officer may require you to notify the person about the risk and you must comply with that instruction. The probation
                                 officer may contact the person and confirm that you have notified the person about the risk.
13.                              You must follow the instructions of the probation officer related to the conditions of supervision.




 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
 of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
 and Supervised Release Conditions, available at www.uscourts.gov.

 Defendant’s Signature                                                                                                  Date
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  AO245D                          (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                  Sheet 3D — Supervised Release
                                                                                                         Judgment — Page 5 of 7
  DEFENDANT:                                    Brandon Lee Stanley
  CASE NUMBER:                                  2:12CR00351-JLR-001

  Sheet 3D — Supervised Release
                                                            SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in and successfully complete inpatient treatment at a facility approved by the U.S.
Probation Officer. Defendant must comply with facility rules and follow any aftercare recommendations as directed
by the U.S. Probation Officer. The defendant shall not abort treatment without prior approval of U.S. Probation
Officer. U.S. Probation will coordinate the defendant’s release with the U.S. Marshals.

The defendant shall participate as instructed by the U.S. Probation Officer in a program approved by the probation
office for treatment of narcotic addiction, drug dependency, or substance abuse, which may include testing to
determine if defendant has reverted to the use of drugs or alcohol. The defendant shall also abstain from the use of
alcohol and/or other intoxicants during the term of supervision. Defendant must contribute towards the cost of any
programs, to the extent defendant is financially able to do so, as determined by the U.S. Probation Officer. In addition
to urinalysis testing that may be a part of a formal drug treatment program, the defendant shall submit up to eight (8)
urinalysis tests per month.

The defendant shall participate as directed in a mental health program approved by the United States Probation
Office. The defendant must contribute towards the cost of any programs, to the extent the defendant is financially
able to do so, as determined by the U.S. Probation Officer.

The defendant shall participate as directed in the Moral Reconation Therapy program approved by the United States
Probation and Pretrial Services Office. The defendant must contribute towards the cost of any programs, to the extent
the defendant is financially able to do so, as determined by the U.S. Probation Officer.

The defendant shall provide the probation officer with access to any requested financial information including
authorization to conduct credit checks and obtain copies of the defendant's federal income tax returns.

The defendant shall submit his or her person, property, house, residence, storage unit, vehicle, papers, computers (as
defined in 18 U.S.C.§1030(e)(1)), other electronic communications or data storage devices or media, or office, to a
search conducted by a United States probation officer, at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a
search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject
to searches pursuant to this condition.

The defendant shall abide by all federal, state, and local directives regarding the COVID-19 pandemic.
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AO245D                                           (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                                 Sheet 5 — Criminal Monetary Penalties
                                                                                                                                                          Judgment — Page 6 of 7
DEFENDANT:                                                     Brandon Lee Stanley
CASE NUMBER:                                                   2:12CR00351-JLR-001
                                                                                CRIMINAL MONETARY PENALTIES
                                        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Sheet 5 — Criminal M onetary Penalties




                                                     Assessment                   Restitution                Fine                 AVAA Assessment*        JVTA Assessment**
TOTALS                                            $ 100.00 (PAID)               $ N/A                       $ Waived             $ N/A                   $ N/A

                                         The determination of restitution is deferred until                            . An Amended Judgment in a Criminal Case (AO 245C)
                                         will be entered after such determination.
                                         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                                         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                                         victims must be paid before the United States is paid.

Name of Payee                                                                                 Total Loss***             Restitution Ordered          Priority or Percentage




TOTALS                                                                                                $ 0.00                          $ 0.00

                                         Restitution amount ordered pursuant to plea agreement $
                                         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                                         the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
                                         subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
                                         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                              the interest requirement is waived for the     fine             restitution
                                              the interest requirement for the      fine          restitution is modified as follows:

                                         The court finds the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition
                                         of a fine is waived.

  * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
    offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO245D                                 (Rev. 09/19) Judgment in a Criminal Case For Revocations
                                       Sheet 6 — Schedule of Payments
                                                                                                                                             Judgment — Page 7 of 7
DEFENDANT:                                           Brandon Lee Stanley
CASE NUMBER:                                         2:12CR00351-JLR-001

Sheet 6 — Schedule of Payments
                                                                              SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

6                                PAYMENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to
                                 Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

                                6 During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
                                       whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

                                6 During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
                                       monthly household income, to commence 30 days after release from imprisonment.

                                   During the period of probation, in monthly installments amounting to not less than 10% of the defendant's gross monthly
                                       household income, to commence 30 days after the date of this judgment.

                                 The payment schedule above is the minimum amount that the defendant is expected to pay towards the monetary
                                 penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The
                                 defendant must notify the Court, the United States Probation Office, and the United States Attorney's Office of any
                                 material change in the defendant's financial circumstances that might affect the ability to pay restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program are made to the United States District Court,
Western District of Washington. For restitution payments, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

                       Joint and Several

                                 Case Number
                                 Defendant and Co-Defendant Names                                                Joint and Several      Corresponding Payee,
              (including defendant number)                                                       Total Amount        Amount                if appropriate



                       The defendant shall pay the cost of prosecution.

                       The defendant shall pay the following court cost(s):

                       The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
